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19
                                 UNITED STATES DISTRICT COURT
20                             NORTHERN DISTRICT OF CALIFORNIA
21   CHASOM BROWN, WILLIAM BYATT,                      Case No.: 4:20-cv-03664-YGR-SVK
     JEREMY DAVIS, CHRISTOPHER
22
     CASTILLO, and MONIQUE TRUJILLO                    DECLARATION OF MARK C. MAO IN
23   individually and on behalf of all other similarly SUPPORT OF PLAINTIFFS’
     situated,                                         UNOPPOSED MOTION FOR FINAL
24                                                     APPROVAL OF CLASS ACTION
                           Plaintiffs,                 SETTLEMENT
25       v.
                                                       Judge:     Hon. Yvonne Gonzalez Rogers
26   GOOGLE LLC,                                       Date:      July 30, 2024
                           Defendant.                  Time:      2:00 p.m.
27                                                     Location: Courtroom 1 – 4th Floor

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 1                                DECLARATION OF MARK C. MAO

 2             I, Mark C. Mao, declare as follows.

 3             1.     I am a partner with the law firm of Boies Schiller Flexner LLP (“BSF”), counsel

 4   for Plaintiffs in this matter. I am an attorney at law duly licensed to practice before all courts of

 5   the State of California. I have personal knowledge of the matters set forth herein and am

 6   competent to testify.

 7             1.   I have personal knowledge of the facts herein, or am informed and believe them to

 8   be true. If called as a witness, I could and would testify competently to the information set forth

 9   herein.

10             2.     I submit this declaration in support of Plaintiffs’ Unopposed Motion for Final

11   Approval of Class Action Settlement (the “Motion”).

12             3.     We conducted an extensive many-months investigation (with expert assistance)

13   prior to filing and decided to challenge these Google practices.

14             4.     This litigation involved, extensive, thorough, and hard-fought discovery. On

15   September 30, 2020, Plaintiffs served Google with their first set of document requests. During

16   fact discovery from September 2020 through March 2022, Plaintiffs served Google with 235

17   document requests, 40 interrogatories, and 75 requests for admission. Plaintiffs filed 34 motions

18   to compel, and Google produced more than 900,000 documents from 43 custodians totaling over

19   5.8 million pages, most of which were produced just three months before the close of fact

20   discovery. In turn, Plaintiffs responded to 17 interrogatories, 34 requests for production, and 55

21   requests for admission from Google. The parties exchanged more than 150 letters, conducted

22   dozens of meet and confers, and had 16 separate hearings before Judge van Keulen (totaling over

23   27 hours), where they submitted over 1,000 pages to her to address over 40 discovery disputes.

24   Those disputes resulted in 64 orders from Judge van Keulen. In addition to relying on attorneys

25   at their firms, Plaintiffs hired 11 document reviewers with engineering backgrounds to work

26   through these technical documents and prepare for depositions. Plaintiffs also retained 23

27   consulting and testifying experts to assist with fact discovery and prepare expert reports.

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 1          5.      Discovery yielded critical admissions by numerous Google employees, including

 2   those which Google initially refused to include as document custodians. Specifically, some of

 3   these Google employees admitted Google’s own disclosures were misleading, which became a

 4   focal point of both the litigation and settlement process. Google employees described Chrome

 5   Incognito Mode as “misleading,” “effectively a lie,” a “confusing mess,” a “problem of

 6   professional ethics and basic honesty,” and as being “bad for users, bad for human rights, bad for

 7   democracy.” Dkt. 924-4 at 29 (quotation marks omitted).

 8          6.      The parties conducted many depositions. In 2021 and 2022, Plaintiffs obtained

 9   more than 117 hours of deposition testimony from 27 current and former Google employees,

10   including 8 individuals designated as 30(b)(6) deponents. Those depositions included individuals

11   involved with the core Google products and services at issue, including Chrome, Analytics, and

12   Ads. Google sought to prevent some of these depositions, and insisted that some depositions take

13   place in Europe. The class representatives each sat for deposition, with Google spending over 28

14   hours questioning them about their personal browsing private activities and other topics.

15          7.      In July 2021, the parties began a year-long process with technical Special Master

16   Douglas Brush, who was appointed by Judge Van Keulen to supervise production of the named

17   Plaintiffs’ data, and to rule on other disputes. This process involved 21 hearings and conferences

18   with the Special Master, dozens of written submissions and correspondence, and ongoing

19   coordination among counsel for both sides, Plaintiffs’ consulting experts, and Google engineers.

20   Through the Special Master process, Plaintiffs obtained 76GB of data across 13,483 data files,

21   which Plaintiffs’ technical expert used for his analysis. During the discovery process, Judge van

22   Keulen twice sanctioned Google for discovery misconduct. Through the Special Master process,

23   Plaintiffs learned that Google failed to disclose certain bits that can detect when users are in

24   Incognito mode in the Chrome browser. On April 22, 2022, Judge van Keulen conducted an all-

25   day evidentiary hearing on whether Google failed to disclose three Incognito detection bits,

26   which involved live testimony from five witnesses. Following the hearing, Judge van Keulen

27   sanctioned Google for concealing three detection bits and their corresponding logs, in violation

28   of “all three” of the court’s April, September, and November 2021 orders, and other misconduct.
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 1   Dkt. 588 ¶ 7, p. 35. The Court sanctioned Google by awarding Plaintiffs nearly $1 million in

 2   fees, precluding Google from presenting certain arguments and witnesses at trial, and proposing

 3   adverse jury instructions. Id. at 6–7.

 4          8.      In addition to the extensive fact discovery, the parties also engaged in highly

 5   technical expert discovery. On April 15, 2022, Plaintiffs served five opening expert reports

 6   totaling 1,243 pages. Throughout the process, the parties utilized 11 testifying experts (6 for

 7   Plaintiffs and 5 for Google), all of whom provided at least one expert report and sat for deposition.

 8   In total, the parties exchanged 18 expert reports, totaling over 3,000 pages (excluding

 9   spreadsheets) and engaged in 14 days of expert depositions. Plaintiffs also utilized experts to

10   analyze Google’s enormous document and data productions, including with the assistance of

11   consulting experts. Class Counsel invested significant time and resources into expert discovery,

12   in total paying close to $5 million to testifying and consulting experts.

13          9.      On June 20, 2022, Plaintiffs moved for class certification, which Google opposed.

14   On December 12, 2022, the Court granted 23(b)(2) certification, but denied certification under

15   23(b)(3). On March 21, 2023, Google moved for summary judgment, which Plaintiffs opposed.

16   In total, Google filed over 4,500 pages of briefing and exhibits pertaining to summary judgment.

17   On August 7, 2023, the Court denied Google’s summary judgment motion in its entirety. The

18   named Plaintiffs’ cases were proceeding to trial in full, with every cause of action intact,

19   including their individual damages claims.

20          10.     In September 2023, shortly after the Court’s summary judgment ruling, the parties

21   began a mediation process that lasted several months. The parties selected retired United States

22   District Judge Layn R. Phillips as the mediator. After extensively briefing their positions, the

23   parties participated in an all-day, in-person mediation in New York on September 29, 2023. The

24   parties then continued to mediate for six months under Judge Phillips’ supervision. Throughout

25   this process the parties exchanged numerous proposals and counterproposals concerning the

26   scope and content of potential injunctive relief.

27          11.     During this time, the parties in parallel prepared for trial and finished discovery.

28   Class Counsel began preparing witness examination outlines and other necessary trial prep work,
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 1   and the parties began working with retired Magistrate Judge Elizabeth Laporte to resolve

 2   objections to trial exhibits. The Court ordered Google to take former Google employee Blake

 3   Lemoine’s testimony, which took place on December 21, 2023.

 4          12.     On December 22, 2023, on the eve of trial, Plaintiffs and Google finalized a Term

 5   Sheet, which has now been implemented with the Settlement. With the Settlement, Plaintiffs

 6   successfully obtained Google’s agreement to remediate 100% of the data set at issue. The

 7   Settlement also obligates Google to delete detailed URLs, which will prevent Google from

 8   knowing the specific pages on a website a user visited when in a private browsing mode. It took

 9   approximately two more months for the parties to negotiate the Long Form Settlement

10   Agreement in order to finalize the Settlement.

11          13.     The class representatives were involved throughout this litigation and during the

12   settlement process. The class representatives reviewed and approved key filings and strategy

13   decisions. The class representatives each responded to 17 interrogatories, 34 requests for

14   production, and 55 requests for admission. They also each sat for depositions and participated in

15   productions involving imaging each of their personal devices, negotiating search terms, and

16   reviewing those documents before production. The class representatives also participated in the

17   Special Master process, which involved data collection from their devices, retrieving account

18   information and settings, and culling through data to enable the experts and consultants to

19   complete their analyses. They continued to be involved throughout the mediation and settlement

20   process.

21          14.     In bringing this case from conception to Settlement, Class Counsel advanced more

22   than seven million dollars in litigation expenses and over 75,000 attorney hours on behalf of the

23   classes with no assurances that those expenses would be reimbursed. These efforts were entirely

24   self-funded without any third-party financing agreements.

25          15.     Attached hereto as Exhibit 1 is a true and correct copy of the executed Proposed

26   Settlement Agreement between Plaintiffs and Google.

27          16.     Attached hereto as Exhibit 2 is a true and correct copy of an article titled “Google

28   faces $5 billion lawsuit for tracking people in incognito mode”, written by Carrie Mihalcik,
                                                    4
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 1   published    on    June   3,   2020,    available    at   https://www.cnet.com/tech/services-and-

 2   software/google-faces-5-billion-lawsuit-for-tracking-people-in-incognito-mode/ (last viewed

 3   March 29, 2024).

 4          17.     Attached hereto as Exhibit 3 is a true and correct copy of a transcript of a hearing

 5   before the Honorable Judge Gonzalez-Rogers on May 12, 2023.

 6          18.     Attached hereto as Exhibit 4 is a true and correct copy of a document bearing

 7   bates number GOOG-BRWN-00806426.

 8          19.     Attached hereto as Exhibit 5 is a true and correct copy of a document bearing

 9   bates number GOOG-CABR-04971904.

10          20.     Attached hereto as Exhibit 6 is a true and correct copy of a document bearing

11   bates number GOOG-CABR-03827263.

12          21.     Attached hereto as Exhibit 7 is a true and correct copy of a document bearing

13   bates number GOOG-BRWN-00812710.

14          22.     Attached hereto as Exhibit 8 is a true and correct copy of a document bearing

15   bates number GOOG-BRWN-00048773.

16          23.     Attached hereto as Exhibit 9 is a true and correct copy of a document bearing

17   bates number GOOG-BRWN-00406065.

18          24.     Attached hereto as Exhibit 10 is a true and correct copy of a document bearing

19   bates number GOOG-CABR-03611484.

20          25.     Attached hereto as Exhibit 11 is a true and correct copy of a complaint filed on

21   behalf of 50 Brown class members seeking monetary relief for the claims at issue in this litigation.

22          26.     Plaintiffs provided Google with an opportunity to review the Motion before it was

23   filed. Google confirmed that it supports the relief requested in this Motion, which is final

24   approval of the settlement. Google also indicated that it disputes some of the “legal and factual

25   characterizations” contained in the Motion. A true and correct copy of this email from Google’s

26   counsel from March 29, 2024 explaining its position is attached hereto as Exhibit 12. Plaintiffs

27   made some but not all of Google’s requested changes.

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 1          27.     I declare under penalty of perjury, under the laws of the State of California, that

 2   the foregoing is true and correct. Executed on April 1, 2024, at San Francisco, California.

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 4
                                                          /s/ Mark C. Mao
 5                                                        Mark C. Mao
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